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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                               NEWARK DIVISION


      IN RE: PROTON-PUMP                        MDL No. 2789(CCC)(MF)
      INHIBITOR PRODUCTS
      LIABILITY LITIGATION (NO. II)             Case No.: 2:17-md-2789

      This Document Relates to:
      Sandra Lee Foster v. AstraZeneca
      Pharmaceuticals LP, et al.

      Docket No.: 2:20-cv-


      SECOND AMENDED SHORT FORM COMPLAINT AND JURY DEMAND

          The Plaintiff(s) named below file(s) this Second Amended Short Form Complaint

and Demand for Jury Trial against Defendants named below by and through their

undersigned counsel and as permitted by Case Management Order No. 7. Plaintiff(s)

incorporate(s) by reference the allegations contained in Plaintiffs’ Master Long Form

Complaint and Jury Demand in In re: Proton-Pump Inhibitor Products Liability Litigation,

MDL 2789, in the United States District Court for the District of New Jersey pursuant to

Case Management Order No. 7.

          In addition to those causes of action contained in Plaintiffs’ Master Long Form

Complaint and Jury Demand, where certain claims require specific pleadings and/or

amendments, Plaintiffs shall add and include them herein.

                             IDENTIFICATION OF PARTIES

Identification of Plaintiff(s)

1.         Name of individual injured/deceased due to the use of PPI Product(s): Sandra Lee


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Foster                                                             .

2.        Consortium Claim(s): The following individual(s) allege damages for loss of

consortium:



.

3.       Survival and/or Wrongful Death Claims:

          a. Plaintiff,           , is filing this case in a representative capacity as

             the ___________ of the Estate of __________________, deceased.

          b. Survival Claim(s): The following individual(s) allege damages for survival

             claims, as permitted under applicable state laws:                            .

4.        As a result of using PPI Products, Plaintiff/Decedent suffered pain and suffering,

emotional distress, mental anguish, and personal and economic injur(ies) that are alleged to

have been caused by the use of the PPI Products identified in Paragraph 10, below, but not

limited to the following:

                    X       injury to himself/herself

                            injury to the person represented

                            wrongful death

                            survivorship action

                    X       economic loss

                            loss of services

                            loss of consortium

                    X       other: other injuries not yet known, discovered or identified
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Identification of Defendants

5.      Plaintiff(s)/Decedent is/are suing the following Defendant(s) (please check all

that apply):

              Abbott Laboratories

              AstraZeneca Pharmaceuticals LP

              AstraZeneca LP

              GlaxoSmithKline Consumer Healthcare Holdings (US) LLC

              Merck & Co. Inc. d/b/a Merck, Sharp & Dohme Corporation

              Novartis Corporation

              Novartis Pharmaceutical Corporation

              Novartis Vaccines and Diagnostics, Inc.

              Novartis Institutes for Biomedical Research, Inc.

              Novartis Consumer Health, Inc.

              Pfizer, Inc.

              The Procter & Gamble Company

              The Procter & Gamble Manufacturing Company

              Takeda Pharmaceuticals USA, Inc.

              Takeda Pharmaceuticals America, Inc.

              Takeda Development Center Americas, Inc. f/k/a Takeda Global Research
               & Development Center, Inc.

              Takeda Pharmaceutical Company Limited

              Other(s) Defendant(s) (please identify):
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                             JURISDICTION & VENUE

Jurisdiction:

6.       Jurisdiction in this Short Form Complaint is based on:

               Diversity of Citizenship

               Other (The basis of any additional ground for jurisdiction must be pled in

sufficient detail as required by the applicable Federal Rules of Civil Procedure).




Venue:

7.       District Court(s) in which venue was proper where you might have otherwise filed

this Short Form Complaint absent Case Management Order No. 7 entered by this Court

and/or to where remand could be ordered: United States District Court for the Northern

District of Ohio         .

                                  CASE SPECIFIC FACTS

8.       Plaintiff(s) currently reside(s) in (City, State):   Huron, Ohio            .

9.       To the best of Plaintiff’s knowledge, Plaintiff/Decedent used PPI Product(s) during

the following time period:      Various dates and years including but not limited to beginning

at least approximately 2012.

10.      Plaintiff/Decedent used the following PPI Products, for which claims are being
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asserted:

                Dexilant

                Nexium

                Nexium 24HR

                Prevacid

                Prevacid 24HR

                Prilosec

                Prilosec OTC

                Protonix

                Other (List All):



11.        The injuries suffered by Plaintiff/Decedent as a result of the use of PPI Products

include, among others that will be set forth in Plaintiff’s discovery responses and medical

records:

                Acute Interstitial Nephritis (AIN)

                Acute Kidney Injury (AKI)

                Chronic Kidney Disease (CKD)

                End Stage Renal Disease (ESRD)

                Dialysis

                Death

               Other(s) (please specify):

             Renal/kidney insufficiency/failure and related symptoms, RAHS; in some cases
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          dialysis; and any other injuries yet to be known, realized or identified.

12.     At the time of the Plaintiff’s/Decedent’s diagnosis of injury, Plaintiff/Decedent

resided in (City, State):   Huron, Ohio                                                     .

                                  CAUSES OF ACTION

13.    Plaintiff(s), again, hereby adopt(s) and incorporate(s) by reference the Master

Long Form Complaint and Jury Demand as if fully set forth herein.

14.     The following claims and allegations asserted in the Master Long Form

Complaint and Jury Demand are herein more specifically adopted and incorporated by

reference by Plaintiff(s) please check all that apply):

               Count I: Strict Product Liability

               Count II: Strict Product Liability – Design Defect

               Count III: Strict Product Liability – Failure to Warn

               Count IV: Negligence

               Count V: Negligence Per Se

               Count VI: Breach of Express Warranty

               Count VII: Breach of Implied Warranty

               Count VIII: Negligent Misrepresentation

               Count IX: Fraud and Fraudulent Misrepresentation

               Count X: Fraudulent Concealment

               Count XI: Violation of State Consumer Protection Laws of the State(s) of:

                Ohio and throughout the United States            .

               Count XII: Loss of Consortium
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              Count XIII: Wrongful Death

              Count XIV: Survival Action

              Furthermore, Plaintiff(s) assert(s) the following additional theories and/or

Causes of Action against Defendant(s) identified in Paragraph five (5) above. If Plaintiff(s)

includes additional theories of recovery, to the extent they require specificity in pleadings,

the specific facts and allegations supporting these theories must be pled by Plaintiff(s) in a

manner complying with the requirements of the Federal Rules of Civil Procedure:

Design Defect, Failure to Test, Equitable Tolling, Discovery and any and all theories

applicable under law.



       WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants of

compensatory damages, punitive damages, interest, costs of suit and such further relief as

the Court deems equitable and just, and as set forth in the Master Long Form Complaint

and Jury Demand, as appropriate.


                                     JURY DEMAND

       Plaintiff(s) hereby demand a trial by jury as to all claims in this action.

Dated: October 18, 2022.

                                            Respectfully Submitted,


                                    By:    /s/ JENNIFER M. HOEKSTRA
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